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                  IN THE UNITED STATES DISTRICT COURT FOR THE
                         NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                         CASE NO. 1:88-cr-01026-MP-AK

CHARLES L DAVIS,

      Defendant.
___________________________/

                                        ORDER

       This matter is before the Court on Doc. 3436, Emergency Motion to Extend Deadline for

Self-Surrender by Sixty Days. The motion is denied.


       DONE AND ORDERED this 10th day of April, 2006


                                    s/Maurice M. Paul
                               Maurice M. Paul, Senior District Judge
